Case No. 1:08-cv-01731-ZLW Document 1 filed 08/14/08 USDC Colorado pgi1of4

FILED
UNITED STATES DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT DENVER, COLORADO
FOR THE DISTRICT OF COLORADO AUG 1 4 2008

Civil Action No. NR ~ CV ™ () 1 7 3 I GREGORY C. LANGHAM

CLERK
(The above civil action number must appear on all future papers _.
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

JAMES R. GIBSON,
Plaintiff,

v.

LIEUTINANT [sic] HILL,

OFFICER FOSTER, and

OFFICER JOHN DOE,

Defendants.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a document titled “Criminal Compiaint and Statement of
Facts.” He has failed either to pay the $350.00 filing fee or to file a Prisoner’s Motion
and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915. As part of the court’s
review pursuant to D.C.COLO.LCivR 8.2, the court has determined that the submitted
document is deficient as described in this order. Notwithstanding the deficiencies, the
clerk of the court will be directed to commence a civil action. Plaintiff will be directed to
cure the following if he wishes to pursue his claims. Any papers which the Plaintiff files
in response to this order must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1) .X — is not submitted
(2) __ is missing affidavit

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(3) ____ is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

(4) __ __ is missing required financial information

(5) __ is missing an original signature by the prisoner

(6) _____ is not on proper form (must use the court’s current form)

(7) __ names in caption do not match names in caption of complaint, petition or
habeas application

(8) __ — Anoriginal and a copy have not been received by the court.

Only an original has been received.
(9) xX other:_motion is necessary only if filing fee is not paid in advance.

Complaint, Petition or Application:
(10) __ is not submitted
(11) xX is not on proper form (must use the court's current form)

(12) __ is missing an original signature by the prisoner

(13) _ —_ is missing page nos. __

(14) __ uses et al. instead of listing all parties in caption

(15) __ — Anoriginal and a copy have not been received by the court. Only an
original has been received.

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) _. names in caption do not match names in text

(18) _ — other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. Itis
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Plaintiff
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that the clerk of the court mail to the Plaintiff, together
with a copy of this order, two copies of the following form(s): Prisoner's Motion and
Affidavit for Leave to Proceed Pursuant to 28 U.S.C. §1915; Prisoner Complaint. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the
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action will be dismissed without further notice, The dismissal shall be without prejudice.

DATED at Denver, Colorado, this_W" "day of MIS , 2008.

BY THE COURT:

United States Magistrate
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 1B (YY 0 1731

James R. Gibson
Reg. No. 62228-004
ADX - Florence

PO Box 8500
Florence, CO 81226

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. §1915
and Prisoner Complaint forms to the above-named individuals on g [Y | o

GREGORY C. LANGHAM, CLERK

By:

DeWtity Clerk
